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                                    December 21, 2022

BY ECF
Honorable Lorna G. Schofield, U.S.D.J.
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

               Re:      Karen Delgado v. 419 E. 70th Cafe, Inc., dba York Grill, et al.
                        Case No. 22 Civ. 7446 (LGS)

Dear Judge Schofield,

       The parties respectfully provide this joint status report pursuant to the court’s case
management order, Section 13(a) (Docket 18) and the court’s individual practices, Section
IV(a).

       The parties have scheduled mediation for Friday January 20th. The parties are
informally exchanging positions and documents in advance. Plaintiff served Rule 26
Disclosure on December 19th. Defendants served Rule 26 Disclosure on December 21st,
2022.

        Formal demands have not been served but should mediation not be successful, the
parties will complete discovery on the schedule ordered by the court.

        The plaintiff respectfully requests until January 31, 2023 to file a request for
collective action certification of this FLSA case, if such motion is to be made at all.
Defendants consent to this deadline.

       The parties thank the court for its consideration of this case.

                                               Respectfully submitted,

                                               CILENTI & COOPER, PLLC

                                               By:     Peter H. Cooper
Hon. Lorna G. Schofield, U.S.D.J.
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